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 6
 7                     IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,          )
                                        ) Cr. No. 08-292 LKK
10           Plaintiff,                 )
                                        ) STIPULATION AND ORDER
11      v.                              ) CONTINUING SENTENCING
                                        ) (October 19, 2010)
12   NARCISCO MARTINEZ                  )
                                        )
13                                      )
             Defendant,                 )
14   ___________________________________)
15
      This case is now set for sentencing on August 10, 2010.           The
16
     Probation Officer reports that he cannot have the pre-sentence
17
     report done in time for this date.        The parties therefore
18
     stipulate sentencing be reset for October 19, 2010 and request the
19
     Court so order.
20
     Dated August 6, 2010
21
22       /S/JASON HITT                         /S/ J TONEY
           Jason Hitt                              J. Toney
23        Assistant U.S. Attorney              Attorney for Defendant
24
25   SO ORDERED:
26   DATED: August 13, 2010
27
28                                         1
